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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

  VIRNETX INC., and                              §
  LEIDOS, INC.,                                  §
                                                 §
         Plaintiffs,                             §
                                                 §              No. 6:12-cv-00855-RWS
         v.                                      §
                                                 §
  APPLE INC.,                                    §
                                                 §
         Defendant.                              §
                                                 §

                   APPLE’S NOTICE OF SUPPLEMENTAL AUTHORITY

        Apple Inc. (“Apple”), by and through their undersigned counsel, hereby respectfully asks

 the Court to consider as supplemental authority VirnetX Inc.’s and Leidos, Inc.’s (“VirnetX’s”)

 Petition for a Writ of Certiorari (“Petition”) and the Supreme Court’s denial of the Petition, which

 are relevant to the resolution of Apple’s Motion for Costs (Dkt. 1058). VirnetX’s Petition and the

 Supreme Court’s denial are attached as Exhibits A and B respectively.

        On July 28, 2023, Apple moved for costs because the United States Court of Appeals for

 the Federal Circuit affirmed that VirnetX’s asserted patents were unpatentable and vacated its Final

 Judgment against Apple, directing this Court to dismiss the case against Apple as moot. VirnetX

 Inc. v. Mangrove Partners Master Fund, Ltd., No. 2020-2271, 2023 WL 2708975, at *11 (Fed.

 Cir. Mar. 30, 2023); Dkt. 1054 at 2–3; Dkt. 1057 at 1–2; Dkt. 1058. VirnetX opposed Apple’s

 motion, contending that Apple was not the prevailing party because Mangrove, not Apple,

 invalidated VirnetX’s patents at the PTAB. Dkt. 1059. Apple filed a Reply on Aug. 18, 2023

 (Dkt. 1060), and VirnetX filed a Sur-Reply on Aug. 28, 2023 (Dkt. 1062).



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        On September 20, 2023, VirnetX filed its Petition. See Ex. A at 36. In its Petition, VirnetX

 asked the Supreme Court to reverse the Federal Circuit’s affirmation that its patents were

 unpatentable because, VirnetX argued, Apple should not have been permitted to join the Mangrove

 IPRs, in part because Apple “assumed a leading role in the IPRs, taking over oral argument,

 communications, and expert depositions,” purportedly prejudicing VirnetX. Ex. A at 23. The

 Supreme Court denied VirnetX’s Petition on February 20, 2024, and the deadline for VirnetX to

 petition for rehearing of that order closed on March 18, 2024. See Ex. B; Supreme Court Rule 44.

 All appeals have therefore been exhausted and VirnetX’s argument regarding Apple’s joinder of

 the Mangrove IPRs has been resolved with finality.


 DATED: March 21, 2024                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in the

 compliance with Local Rule CV-5(a) on March 21, 2024. As such, this document was served on

 all counsel who are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A).



                                                 /s/ Joseph A. Loy
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